                        Case 18-10154-KKS           Doc 39      Filed 03/05/19       Page 1 of 1
                                UNITED STATES BANKRUPTCY COURT
                                 NORTHERN DISTRICT OF FLORIDA
                                      GAINESVILLE DIVISION
In Re:
Jacqueline Bastanzi,                                           Case No. 18-10154-KKS
                                                               Chapter 7

             Debtor.
_________________________/

   ORDER APPROVING THE CHAPTER 7 TRUSTEE’S APPLICATION TO RETAIN BK
    GLOBAL REAL ESTATE SERVICES TO PROCURE CONSENTED PUBLIC SALE
                   PURSUANT TO 11 U.S.C. § 327 (Doc. 34)

       NOW the above-captioned matter comes before this Court upon the CHAPTER 7 TRUSTEE’S

APPLICATION TO RETAIN BK GLOBAL REAL ESTATE SERVICES TO PROCURE

CONSENTED PUBLIC SALE PURSUANT TO 11 U.S.C. § 327, (Doc# 34), no hearing being

necessary, it is


       ORDERED:

       1. Trustee’s Application to Employ BK GLOBAL REAL ESTATE SERVICES is

           APPROVED.

       2. The Trustee shall present a final closing settlement statement to the Court which shall

           include all fees and expenses for final approval prior to payment.

       DONE AND ORDERED on this ______        March
                                 5th day of ____________________, 2019.


                                                 _________________________________
                                                 KAREN K. SPECIE
                                                 United States Bankruptcy Judge


       Trustee is directed to serve a copy of this order on interested parties and file a proof of service within three (3)
       days of entry of the order.
       Order prepared by: Theresa M Bender
       Copies provided to:
       BARBARA A. CUSUMANO, Esq.
       BASTANZI, JACQUELINE VEGA
       Charles F. Edwards, Esq.
